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                                            THE CITY OF NEW YORK
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                                                                            June 21, 2016

       BY ECF
       Hon. Vera M. Scanlon, U.S.M.J.
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East, 505 North
       Brooklyn, NY 11201

               Re:    Derrick Hamilton v. City of New York, et al., 15 CV 04574 (CBA) (VMS)

       Your Honor:

                      I am senior counsel in the New York City Law Department, attorney for
       Defendants the City of New York, Frank DeLouisa, and Joseph Ponzi in the above-referenced
       matter. I write on behalf of all parties to seek clarification from the Court regarding the current
       discovery schedule.

                       By way of brief background, the parties submitted a joint letter / motion on April
       7, 2016 (Dkt. 42) that outlined the status of discovery and identified areas of disagreement that
       necessitated judicial involvement. The submission also requested additional time to conduct
       depositions and complete discovery beyond the close of non-Monell fact discovery, id. at 3,
       originally scheduled for June 30, 2016. See Initial Conf. Order, ¶ 6 (Dkt. 28). Your Honor, by
       orders dated April 13, 2016 (Dkt. 43) and April 19, 2016 (Dkt. 45), granted the motion in part,
       set interim deadlines for the production of certain records, and scheduled a status conference for
       July 12, 2016. Since the last conference, the parties have remained active in discovery and are in
       the early stages of scheduling the depositions of Plaintiff and the non-party alibi witnesses.

                       While Your Honor’s orders seem to contemplate an extension of non-Monell fact
       discovery, no specific date has been so ordered. Therefore, out of an abundance of caution, the
       parties respectfully request an extension of non-Monell discovery until October 31, 2016, with a
       corresponding four month extension to all existing deadlines. If, however, it is the Court’s
       intention to discuss discovery and the need for a revised schedule at the July 12, 2016
       conference, the parties will proceed accordingly. In either case, there are many reasons for the
       requested extension. As stated in the April 7 submission, the records produced in this case are
       voluminous and the parties require time to review them before taking the principal depositions.
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 Moreover, the New York City Defendants very recently obtained Derrick Hamilton’s parole
 records, which will add over a thousand additional pages to the production universe. Defendants
 need time to process these records and produce them to the other parties. Finally, the nature of
 plaintiff’s allegations presents a need to take several non-party depositions of alleged alibi
 witnesses. Plaintiff’s counsel is in the process of determining whether he will be able to
 facilitate the scheduling of those depositions by non-party subpoena or otherwise.

                 This is the first request for an extension of the discovery deadlines set following
 the initial conference. It is made on consent of all the parties. Pursuant to your Honor’s
 Individual Rules, a proposed scheduling order, consistent with the relief requested herein, is
 attached to this letter.

                We thank the Court for its consideration of this matter.

                                                             Respectfully submitted,

                                                                     /s/
                                                             Jeffrey Loperfido
                                                             Senior Counsel



 Enc.

 cc:    All counsel of record via ECF




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